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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF FLORIDA
                      PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                Case No. 3:19-md-2885
EARPLUG PRODUCTS
LIABILITY LITIGATION
                                     Judge M. Casey Rodgers
This Document Relates to All Cases   Magistrate Judge Gary R. Jones




   PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION FOR
SUMMARY JUDGMENT ON GOVERNMENT CONTRACTOR DEFENSE
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                                 INTRODUCTION

       Defendants have known since 2000 that the Combat Arms Earplug Version 2

(“CAEv2”) is defective and dangerous. They peddled this product to the public and

the United States military anyway, perpetrating an ongoing fraud on our country and

its citizens. Fortuitously, the CAEv2’s defects and dangers were revealed, under

cover of a protective order, when Defendants filed a sham patent lawsuit against

their competitor. More than 140,000 Plaintiffs, including servicemembers, veterans,

and civilians, now seek judgment against Defendants for hearing loss, tinnitus, and

related injuries.

       Unable to defend themselves on the merits, Defendants have manufactured an

affirmative defense that is just as defective as the CAEv2. Defendants assert the

so-called “government contractor defense” against all of Plaintiffs’ claims. Dkt. 959

at 96. But this limited preemption defense is facially inapplicable to nearly all claims.

Even as to Plaintiffs’ design-defect and failure-to-warn claims, Defendants cannot

blame the military for their own mistakes and misdeeds. The defense fails out of the

gate because Defendants did not design the CAEv2 for exclusive military use, and

they did not enter into a procurement contract for the design and development of

the CAEv2.

       Even if Defendants could bypass those threshold hurdles, they stumble at each

successive step of the defense. The military never approved specifications for the


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CAEv2, much less reasonably precise ones. Nor does the CAEv2 conform to any

purported specifications. Finally, Defendants never warned the military of the

CAEv2’s defects and dangers. Indeed, Defendants concealed such information from

the military and all users for the CAEv2’s entire lifetime on the market. For each of

these independently dispositive reasons, the defense does not displace Plaintiffs’

design-defect claims.

      Plaintiffs’ failure-to-warn claims also remain unscathed because Defendants

cannot show that a federal procurement contract prohibited them from warning about

the CAEv2’s defects and dangers. Because Defendants cannot shoulder their heavy

burden to preempt even one of Plaintiffs’ claims, Plaintiffs respectfully request

summary judgment on this affirmative defense.

                          FACTUAL BACKGROUND

                        Aearo and ISL Designed the CAEv2

      For decades, researchers have studied non-linear hearing protection devices

that attenuate loud, sudden noise while allowing low-level noise to pass through.



                                                     PX1(3M_MDL000712631).



                                                        PX2(3M_MDL000183314);

PX3(3M_MDL000779978_25).



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                                     PX4(3M_MDL000014158).



          PX5(3M_MDL000013024).

                                Id. Another prototype was double-ended; one end

non-linear, the other linear. ISL patented this design. PX6(3M_MDL000019173).




                                                 PX7(3M_MDL000425673_2);

PX8(3M_MDL000434810).

                          PX7(3M_MDL000425673_2).

                                                         PX9(Ohlin-233:7-24);

PX10(30(b)(6)-820:17–822:5).



                       PX11(Knauer-85:22-25); PX12(3M_MDL000591210_5).



                                                 PX13(3M_MDL0000277773);

PX14(3M_MDL000343622_3); PX14A(3M_MDL000826703–04) (

                                ).



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                                                                   PX15(Myers-

105:23–109:8).



                       PX16(30(b)(6)-504:25–505:19).

                                                  PX17(3M_MDL00017782–84).



                                                             PX9(Ohlin-228:5-16,

233:7-24).

             , PX18(McNamara-344:22–350:3), Aearo sold the CAEv2 and

“feature identical” products to civilians and the military, PX19(30(b)(6)-38:13–

40:14, 51:5-24).

                   Aearo Failed to Test and Warn About the CAEv2



                                                       PX20(3M_MDL000257805).




PX21(3M_MDL000313390); PX22(3M_MDL000057209).



                                         Id.; PX23(Babeu-52:12-17).




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PX24(Berger-106:2–107:2).



                            , PX25(Kieper-254:4–255:8); PX26(Berger-166:21–

168:1),

                                                                                ,

PX27(30(b)(6)-276:3–277:4); PX28(Kieper-101:20–102:15).

                                                                   PX25(Kieper-

166:10-16); PX27(30(b)(6)-276:3–277:4).

                                           PX26(Berger-559:5-13); PX11(Knauer-

117:10-17).



                    , PX29(3M_MDL000005365); PX25(Kieper-318:24–319:21),

even though the flanges were not designed to be folded at all, PX30(Falco-648:18–

653:8).                                    , PX31(Hamer-165:20–166:1),

                                                            , PX18(McNamara-

152:20–153:9).



                                                    PX32(3M_MDL000258590);

PX15(Myers-264:12–267:23).



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                  PX33(3M_MDL000728811).

                              PX33(3M_MDL000728812).



                                       Id.

                                             Id.; PX27(30(b)(6)-322:18–323:1).



               PX26(Berger-206:7–207:3); PX34(Warren-193:8–201:8).




                                                            PX26(Berger-206:7-

13, 545:8-22); PX18(McNamara-439:13–440:15).



                       PX35(Santoro-304:2–306:22); PX18(McNamara-158:1-9);

PX15(Myers-685:4–686:4).

  Aearo Concealed the CAEv2’s Dangers When Contracting with the Military

                                                                                 ,

PX36(3M_MDL000803138), but did not enter into a federal procurement contract

for these “first orders,” PX10(30(b)(6)-793:6–795:5).




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PX37(3M_MDL00000013); PX10(30(b)(6)-804:1–814:12).

                                                                       PX9(Ohlin-

241:5-6).

                             PX15(Myers-544:25–546:15). Aearo had, of course,

already designed the CAEv2 and sold it commercially. Id.



                                 PX15(Myers-489:6–493:3).




PX15(Myers-500:1–501:1, 623:10-25).



                 , PX37(3M_MDL00000013),

                                    , PX25(Kieper-512:5–531:23).

 3M Discontinued the CAEv2 and Settled Similar Claims with the Government

      In 2007, Defendant 3M purchased Aearo and continued to keep all

information about the CAEv2’s defects secret. Defendants withheld that information

until they no longer could—that is, when they filed a sham patent lawsuit against a

competitor and had to produce the Flange Report.

                       , PX31(Hamer-149:18–157:8),

                                                                                  ,



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PX38(3M_MDL000332111);            PX15(Myers-352:16–353:16,          362:15–363:21);

PX39(Madison-305:8–307:20).

      Following that litigation, the United States intervened in a qui tam case against

3M, alleging 3M “did not disclose” the CAEv2’s defects and “delivered the CAEv2

to the United States knowing that the product contained defects.” United States v.

3M, No. 3:16-cv-01533-MBS, Dkt. 23-1 (D.S.C. 2018).




               PX40(CID0001–02); PX15(Myers-753:1–754:5). 3M paid the

government $9.1 million to settle



PX41(3M_MDL000623882). The military, however, ceased using the CAEv2

because “[t]hese earplugs were found to be defective.” PX23(Babeu-66:5–67:14);

PX42(3M_TOUHY00002040).

      In this MDL, Defendants have yet again failed to produce any evidence that

they conveyed the Flange Report’s or Test 213015’s findings to the military. Touhy

discovery confirms

                                              . PX23(Babeu-171:18–175:14, 389:20–

391:18); PX43(Merkley-327:8–330:17); PX44(Coleman-202:15–203:12).




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                                    ARGUMENT

I.       The Government Contractor Defense Is a Limited Preemption Doctrine.

         The Federal Tort Claims Act immunizes the federal government from lawsuits

involving the discretionary functions of a federal agency or employee. 28 U.S.C.

§ 2680(a). Congress did not extend this protection to government contractors, but

the Supreme Court did so, on a limited basis, in Boyle v. United Technologies,

487 U.S. 500 (1988).

         The government contractor defense preempts design-defect claims only if a

procurement contract for the design and development of a product implicates a

“uniquely federal interest” that presents a “significant conflict” with state law. Id. at

507–09. The contractor must prove: “(1) the United States approved reasonably

precise specifications; (2) the equipment conformed to those specifications; and

(3) the supplier warned the United States about the dangers in the use of the

equipment that were known to the supplier but not to the United States.” Id. at 512.

“Stripped to its essentials,” the defense shields only those contractors that can prove

“the government made me do it,” Gray v. Lockheed, 125 F.3d 1371, 1377 (11th Cir.

1997), and “must be applied with caution,” Mitchell v. Lone Star, 913 F.2d 242,

247 n.9 (5th Cir. 1990).1



1
 After all, Justice Scalia agrees he “got[] [Boyle] wrong.” Seinfeld, The Good, the
Bad, and the Ugly, 114 Mich. L. Rev. First Impressions 111, 115 (2016).

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      Because Defendants cannot carry their burden on any one—let alone all

three—of Boyle’s conditions, Plaintiffs are entitled to summary judgment. See

Celotex v. Catrett, 477 U.S. 317, 322 (1986); Strickland v. Royal Lubricant, 911 F.

Supp. 1460, 1465 (M.D. Ala. 1995) (“Because this is an affirmative defense, the

defendant has the burden of proving . . . each element.”); Shurr v. A.R. Siegler,

70 F. Supp. 2d 900, 915 (E.D. Wis. 1999) (“[M]any contractors will not be eligible

for this defense.”).

II.   The Defense Is Irrelevant to the Vast Majority of Plaintiffs’ Claims.

      Defendants have championed the government contractor defense as a “global”

defense. It is not. “Boyle, by its terms, applies only to defects in design.” Harduvel

v. Gen. Dynamics, 878 F.2d 1311, 1317 (11th Cir. 1989); accord Dkt. 904 at 15.

      Although the Eleventh Circuit has stated the defense “could” apply to

failure-to-warn claims when a government contract prohibits a warning, Dorse v.

Eagle-Picher, 898 F.2d 1487, 1489 (11th Cir. 1990), it is irrelevant to all other

claims, e.g., McMahon v. Presidential Airways, 460 F. Supp. 2d 1315, 1329 (M.D.

Fla. 2006). The reason is simple: unlike some design and warning claims, most

state-law claims do not implicate “the government made me do it” rationale. Gray,

125 F.3d at 1377.

      Here, “the protective shield in favor of [Defendants] collapses,” Mitchell,

913 F.2d at 245–46, because Plaintiffs’ misrepresentation, fraud, negligence per se,


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and consumer-protection claims have nothing to do with military actions, Dkt. 704

¶¶ 362–449; see Amtreco v. O.H. Materials, 802 F. Supp. 443, 445 (M.D. Ga. 1992);

Scott v. MD Helicopters, 834 F. Supp. 2d 1334, 1341 (M.D. Fla. 2011).

       Plaintiffs’ negligence and warranty claims may relate in some ways to the

CAEv2’s design defects, but not in toto. It was Defendants—and Defendants

alone—who                 the CAEv2 before they gulled the military. E.g., Dkt. 704

¶¶ 268(e)–(f), 418; PX20(3M_MDL000257805); see Gray, 125 F.3d at 1379–81

(not applying defense to negligence claim). And Defendants, not the military, made

promotional claims about CAEv2 and warranted its safety. E.g., Dkt. 704 ¶¶ 338–

61; see McKay v. Tracor, 2005 WL 8158362, *7 (N.D. Ala. 2005).

       Accordingly, Plaintiffs are entitled to summary judgment on the defense as to

their negligence, warranty, misrepresentation, fraud, gross negligence, negligence

per se, and consumer-protection claims, insofar as these claims do not depend on

design or warning defects. See McKay, 2005 WL 8158362, *4.

III.   The Defense Is Inapplicable to Plaintiffs’ Design and Warning Claims.

       A.    Defendants did not design the CAEv2 exclusively for the military.

       The defense is also inapplicable to Plaintiffs’ design-defect and

failure-to-warn claims because Defendants designed the CAEv2 for both military

and commercial use. Defendants thus cannot show the “two prerequisites to invoking

the Boyle defense,” namely a “uniquely federal interest” and “significant conflict”



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between that interest and state law. In re Fort Totten, 895 F. Supp. 2d 48, 85

(D.D.C. 2012).

             1.     There is no uniquely federal interest.

      The term “uniquely” is significant under Boyle, as it is with any preemption

doctrine. Marcus v. AT&T, 138 F.3d 46, 54 (2d Cir. 1998) (distinguishing “federal

interest” and “uniquely federal interest”); Dietrich v. Key Bank, 72 F.3d 1509, 1514

(11th Cir. 1996) (similar). In Boyle, the military’s procurement of a CH–53D

helicopter was uniquely federal because the contractor designed it for exclusive

military use. 487 U.S. at 507, 511. Had the helicopter been a stock product

commercially available “by model number,” no uniquely federal interest would have

existed. Id. at 509. Thus, when a contractor designs a product for both government

and commercial use, the defense fails because there is not a uniquely federal interest.

E.g., In re Hawaii, 960 F.2d 806, 811–12, 814 n.2 (9th Cir. 1992). Indeed, the

Eleventh Circuit has considered the “military contractor defense” only where the

contractor designs a device for military use. E.g., Gray, 125 F.3d at 1371 (S–3 jet).

      The CAEv2 was designed for both commercial and military use, rendering

any federal interest in the CAEv2’s design not uniquely federal. From the start, ISL

designed the CAEv2’s non-linear filter for both “military [and] industrial” use.

PX2(3M_MDL000183316). Defendants followed suit.




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                  PX12(3M_MDL000591210_5). Unlike a fighter jet or missile,

Defendants designed and developed a simple device for soldiers and civilians

alike. PX15(Myers-97:22–100:17); PX45(Murphy-224:17-21). The CAEv2 is just

an earplug.

        Defendants sold recreational shooters, law-enforcement officers, and

industrial customers the CAEv2 and other “feature identical” products—branded as

the ARC Plug, AO-Safety Indoor/Outdoor               Plug, and Browning Duo.

PX19(30(b)(6)-38:13–40:15, 51:5-24, 74:7-21). These commercial counterparts

                                                           . PX46(Murphy-Ex.21);

PX47(3M_MDL000393647);           PX45(Murphy-232:4-23);        PX15(Myers-398:17–

401:11). Thus, even if the military had a federal interest in the CAEv2, it did not

have a uniquely federal one.2 See Hawaii, 960 F.2d at 811 (“Where the goods

ordered by the military are those readily available, in substantially similar form, to

commercial users, the military contractor defense does not apply.”); Turgeon v.

Trinity, 2018 WL 4223165, *13–15 (D.N.H. 2018) (denying defense because

government did not have a uniquely federal interest); Cabalic v. Owens-Corning,

1994 WL 564724, *3 (N.D. Cal. 2014) (rejecting defense because products were not

“different from those designed for civilian use”).


2



                PX48(3M_MDL000348500).

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             2.     There is no significant conflict.

      The foregoing facts also do not square with Boyle’s conflict requirement.

When “the military is only one outlet in a larger market,” tort policies “continue to

require” the contractor to “bear the cost of the injuries it produces.” Dorse v.

Armstrong, 513 So.2d 1265, 1269 (Fla. 1987). In such situations, as here, “conflict

there [cannot] be.” Cf. Boyle, 487 U.S. at 508; Nielsen v. George, 892 F.2d 1450,

1455 (9th Cir. 1990).

      Moreover, Boyle’s paramount justification for establishing the defense was

that “contractors [would] predictably raise their prices to cover, or insure against,

contingent liability for the Government-ordered designs.” Boyle, 487 U.S. at 511–

12. The “same concerns do not exist with respect to products readily available on

the commercial market.” In re Chateaugay, 146 B.R. 339, 350 (S.D.N.Y. 1992).

Government contractors who simultaneously serve commercial markets already

include liability costs in the product’s price. Hawaii, 960 F.2d at 811. Here, in stark

contrast,                                                                             .

PX49(McGinley-60:2–62:20). Permitting them to benefit from this defense would

vitiate Boyle’s purpose.

      “It would be absurd to permit one injured [civilian] to recover damages

because he was injured by a [CAEv2] sold in the marketplace while [a veteran] is

denied recompense solely because he was injured by the same or a substantially



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similar product produced for a military purchaser.” Dorse, 513 So.2d at 1269–70.

As a matter of law, policy, and equity, the defense has no place in this case.

      B.     Defendants did not enter into a federal procurement contract for
             the design and development of the CAEv2.

      The government contractor defense is also inapplicable because there was

never any procurement contract for the design and development of the CAEv2.

PX10(30(b)(6)-820:17–822:5); see Hudgens v. Bell Helicopter/Textron, 328 F.3d

1329, 1334 (11th Cir. 2003) (requiring defendant to establish “the defense’s general

applicability to its contract with the Army” in addition to Boyle’s “three elements”).

             1.     There is no design contract for the CAEv2.

      Boyle rests on the premise that certain areas of federal concern may warrant

displacing state law. 487 U.S. at 504. The concern there was the military’s unique

interest in a “federal procurement contract” for the design of a CH–53D helicopter.

Id. at 504–08. Because the contract required the defendant to design the helicopter

“with the sort of escape-hatch mechanism shown by the specifications,” the Court

found a “significant conflict” between state law and the design contract. Id. at 509.

      Absent such a contract, the manufacturer owes no “duty” to the government

and remains free to design the product as it sees fit, obviating any conflict. Id. That

is why the Boyle factors “presume the existence” of a design contract; without one,

applying Boyle “proves impossible.” Martinez v. Sci. Applications, 2015 WL

11109381, *21 (S.D. Tex. 2015). A contract for the design and development of a

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product is the sine qua non of the government contractor defense. E.g., Crutchfield

v. Sewerage, 829 F.3d 370, 375 (5th Cir. 2016) (“That defense provides immunity

to contractors for conduct that complies with the specifications of a federal

contract.”); In re Hanford, 534 F.3d 986, 1000 (9th Cir. 2008) (same).

                                                       PX10(30(b)(6)-820:17–822:5);

PX43(Merkley-286:4-16); PX23(Babeu-179:1-4). Nor did Defendants follow

standard procurement processes, where the DLA “develop[s] specifications,”

“solicit[s] bids,” and “award[s] a contract” for product development. 10 U.S.C.

§ 2305(a)(1)(A)(i)–(iii), (b)(4)(A); PX9(Ohlin-28:12-22, 132:9-17); PX26(Berger-

172:1-10); see Gray, 125 F.3d at 1374, 1378 (describing procurement process).

Defendants followed that process                                                   , but

not the CAEv2. PX34(Warren-267:24–269:10, 275:2-22). Defendants cannot recall

any “procurement means through which Aearo entered into a contract with the

government to develop the [CAEv2].” PX10(30(b)(6)-820:17–822:5).

      Instead of entering into a design contract with the military, compare

PX50(3M_MDL000689903),

       , e.g., PX34(Warren-55:23–56:12).



PX9(Ohlin-167:12-22). The government contractor defense thus unravels with the

pull of a single string. City of Walker v. Louisiana, 877 F.3d 563, 570 (5th Cir. 2017).



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             2.     The MPID solicited the CAEv2 as a stock product.

      Unable to identify a design contract, PX10(30(b)(6)-820:17–822:5),

Defendants might fall back on the MPID—

            , PX10(30(b)(6)-804:1–814:12). But that contract does not save them

because it was a “                                                          ” based on

Standard Form 1449. PX37(3M_MDL000000014) (emphasis added); 48 C.F.R.

§ 53.212 (“SF 1449 is prescribed for use in solicitations and contracts for

commercial items.”).

      The commercial item pathway allows the military to acquire preexisting

products based on “streamlined” requirements that avoid sensitive design

judgments. FAR Acquisition of Commercial Items, 60 Fed. Reg. 48231-01 (1995)

(codified at 48 C.F.R. part 12). Pursuant to that pathway, it is “impossible to say”

the military had a significant interest in a particular feature of a preexisting product.

Boyle, 487 U.S. at 509. The defense thus does not protect “stock” products. King v.

Esmet, 2006 WL 3635463, *3 (M.D. Fla. 2006).

      In the same way it would order light bulbs, the DLA ordered the CAEv2 as a

stock product. PX10(30(b)(6)-815:12–816:20); PX15(Myers-537:13-18). Tellingly,

the   MPID                                                                              .

PX37(3M_MDL00000055) (“                                                               ”);

PX51(30(b)(6)-336:22–337:20); see 48 C.F.R. § 52.211-6. The CAEv2 was



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therefore nothing more than a “stock” product at the time of Defendants’ sole

procurement contract. PX26(Berger-262:16–263:6). For that additional threshold

reason, the Court should reject this meretricious defense, as in Ferguson v.

Bombardier, 2015 WL 8160215, *4 (M.D. Fla. 2005). E.g., Coulbourn v. Air &

Liquid, 2015 WL 12656236, *8 (D. Ariz. 2015).3

IV.     The Defense Does Not Preempt Plaintiffs’ Design-Defect Claims Because
        Defendants Cannot Satisfy All Three Boyle Conditions.

        A.   The military did not approve reasonably precise specifications.

        Boyle’s first condition imposes a double burden on Defendants to show

reasonably precise specifications existed and government approval of them. Brinson

v. Raytheon, 571 F.3d 1348, 1351 (11th Cir. 2009). These requirements “assure that

the design feature in question was considered by a Government officer, and not

merely by the contractor itself.” Boyle, 487 U.S. at 512 (emphasis added).

                                             E.g., PX52(3M_MDL000254204_1).

Plaintiffs target two here:



                                                . PX25(Kieper-914:24–915:20).




3
   Assuming arguendo the MPID is a design contract for the CAEv2, civilian
Plaintiffs did not purchase the CAEv2 pursuant to it. No matter how Defendants cut
it, they cannot show the military made them sell the CAEv2 commercially. E.g.,
Nielsen, 892 F.2d at 1455.

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            1.     There are no specifications for the CAEv2.

      Defendants cannot establish the first Boyle condition for these two defects (or

any others) because                                          . PX9(Ohlin-130:6-23,

133:16–134:10, 168:17–169:4, 240:4–241:11); PX53(3M_MDL000527305).

      Ignoring Ohlin’s unequivocal testimony, Defendants might argue that Ohlin

created pseudo-specifications for certain characteristics he allegedly desired.



                                                   PX16(30(b)(6)-578:18–584:22);

PX55(Berger-147:7–148:11). Defendants’ President of Sales and Military Sales

Managers agree                                              . PX34(Warren-290:17-

21); PX18(McNamara-369:4–372:15); PX35(Santoro-229:3–230:8).

      Defendants’ attempt to spin straw into gold also contradicts Touhy testimony.

PX23(Babeu-57:3–58:8); PX43(Merkley-294:12–295:3) (military does not “specify

the development of earplugs [in] oral conversations”). And for good reason. The

DLA, not Ohlin,                                                                     .

PX26(Berger-172:1-10);      PX43(Merkley-404:5-7);        PX44(Coleman-53:5-10);

PX54(3M_MDL000188604).



                                                                        PX9(Ohlin-

148:20–150:9, 233:7-24).



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      Defendants might say the MPID “memorialized” Ohlin’s wish list. This

argument founders on the shoals of



                                        . PX37(3M_MDL00000055); PX26(Berger-

262:16–263:6); PX15(Myers-544:25–546:15); see 48 C.F.R. § 52.211-6(a). The

CAEv2 was, after all, a preexisting product sold commercially years before the

MPID. PX15(Myers-545:10-15). It therefore could not have been designed to satisfy

ex-post requirements. E.g., Caldwell v. Morpho, 2013 WL 500867, *5 (E.D. Mo.

2013) (denying defense because specifications were “produced after the [product]

had already been designed and sold to customers, including the Government”).

             2.     The purported specifications are not reasonably precise.

      In addition, the purported specifications are too vague to shield Defendants

from their own design decisions. Specifications are precise if the government

exercises “discretion over significant details and all critical design choices.” Gray,

125 F.3d at 1377.

      According to Berger, Ohlin said he wanted a single-sized, double-ended,

triple-flanged, dual-mode earplug that would fit in a carrying case. PX55(Berger-

81:22–82:24). This is inadmissible hearsay. McKay v. Tracor, 2005 WL 8158361,

*1–2 (N.D. Ala. 2005). Even so, this supposed wish list constitutes a precatory

“narrative description” that left “important design choices” to Defendants, Gray,



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125 F.3d at 1378, devoid of “

                       ,” PX16(30(b)(6)-582:16–583:6). Ohlin’s silence as to

                                                  is dispositive. See Trevino v. Gen.

Dynamics, 865 F.2d 1474, 1487 (5th Cir. 1989); Holdren v. Buffalo Pumps, 614 F.

Supp. 2d 129, 148 (D. Mass. 2009) (“Silence is not the stuff of ‘reasonably precise’

specifications.”).

      Ohlin’s inquiry about whether Aearo

              does not aid Defendants. Ohlin neither told Defendants

          nor directed them to                    . PX16(30(b)(6)-504:25–505:19).

Defendants retained design discretion, dooming the defense. See Boyle, 487 U.S. at

509 (contract must specify “precise manner of construction”); In re Katrina,

620 F.3d 455, 462 (5th Cir. 2010) (“By providing only general instructions regarding

the compaction method, the Corps ensured [the contractor] would have significant

discretion . . . [which] is not protected by the [defense].”); Dugas v. 3M, 2016 WL

3965953, *4 (M.D. Fla. 2016) (granting plaintiff summary judgment because

specifications did not eliminate defendant’s discretion over the design feature).

      The MPID also fails to specify



    . PX15(Myers-548:7–549:8).




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PX37(3M_MDL000000055). That nebulous description did not require Defendants

to design the CAEv2 defectively. See Gray, 125 F.3d at 1377; Snell v. Bell

Helicopter, 107 F.3d 744, 748 (9th Cir. 1997); Strickland, 911 F. Supp. at 1467–68.

      At bottom, nothing in the record demonstrates the military required

Defendants to shorten the stem or position the opposing flanges as they did. Precise

specifications do not exist for either defect.

             3.     The military did not approve the design features at issue.

      Boyle’s first condition also requires Defendants to show the military approved

precise specifications. Approval means more than a “rubber stamp.” Trevino,

865 F.2d at 1480. There must be “substantive review” through a continuous

“back-and-forth” with the military regarding the feature in question. Id. at 1479–80.

Participation in the overall design will not do. Boyle, 487 U.S. at 513.

      In Gray, the Eleventh Circuit held that Boyle’s first condition was not met

even though “Navy engineers and [the contractor] worked closely together on many

aspects of the [product’s] development.” 125 F.3d at 1374. Because the Navy did

not evaluate the defect, the court affirmed the denial of the defense. Id. at 1378;

Trevino, 865 F.2d at 1480 (“If the [contractor] exercised the actual discretion over

the defective feature of the design, then the contractor will not escape liability via

the [defense]—the government’s rubber stamp on the design notwithstanding.”).




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        In Harduvel, however, the court found the F-16’s electrical system was the

“result of continuous back and forth.” 878 F.2d at 1320. The Air Force conducted

an “extensive review of the aircraft” by “examining specifications, drawings, and

blueprints,” and a “group of Air Force engineers” reviewed the electrical system. Id.

        Here, Defendants cannot show a “continuous back and forth” as to either

defect in question; they cannot even show Ohlin “worked closely” with them on the

CAEv2’s overall design—involvement that was rejected as insufficient in Gray.

PX56(3M_MDL000456625_1) (Army concluding that Ohlin “



               ”); PX34(Warren-255:14–262:22).

        Nor did Ohlin evaluate the CAEv2.

                                 PX9(Ohlin-140:10-20, 148:20–150:14, 233:7-24).

Beyond those ad hoc criteria, Defendants “don’t know how he evaluated” it.

PX55(Berger-133:3-9). There was “

           ” when Ohlin recommended it, PX9(Ohlin-228:5-16), and no “

          ” or “                ” existed, PX9(Ohlin-224:5-17, 243:14–244:7);

PX23(Babeu-56:2-5). Defendants had not even                      the CAEv2 before

selling it to the military.4 PX25(Kieper-148:12–151:9). Defendants and Ohlin


4
    The Army’s 1995 testing does not ameliorate that fact because
                                                                      PX26(Berger-
267:20–268:11).

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therefore had “            ” on the CAEv2 when he rubber-stamped it.

PX20(3M_MDL000257805); PX57(3M_MDL000039904); see Trevino, 865 F.2d

at 1486–87 (finding no approval without “formal [government] design review”).

      To make matters worse, neither Ohlin nor a military engineer evaluated the

CAEv2 or its final blueprint after Defendants decided to shorten its stem. See

Trevino, 865 F.2d at 1480 (noting that Boyle involved government review and

approval of the “final product”). Even if Ohlin evaluated an initial prototype or

blueprint, that “is simply not enough” to show substantive approval of the final

product. Stecyk v. Bell Helicopter, 1997 WL 701312, *7 n.12 (E.D. Pa. 1997).

      Further, Ohlin’s inquiry about shortening the plug does not show substantive

approval of the shortened stem. No evidence shows “exhaustive communication”

with Ohlin regarding Defendants’ decision to shorten the stem. Brinson, 571 F.3d at

1355. Tellingly,

                           , contains nary a word about such a conversation.

PX55(Berger-85:3-15);      PX58(3M_MDL000696204_289–1379).              Nor     do

Defendants know what “evaluations [Ohlin] would have gone through” after they

shortened the stem. PX55(Berger-132:24–133:9); Mazant v. Visioneering, 2006 WL

8456002, *3 (E.D. La. 2006). Ohlin accepted this modification “without any

substantive review or evaluation.” Trevino, 865 F.2d at 1480; Weber v. Slingsby,

2001 WL 34135318, *1 (S.D. Fla. 2001) (defendant failed to show military “had any



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other involvement directing [defendant’s] design decisions” after modifying the

design); cf. Maguire v. Hughes, 912 F.2d 67, 71–72 (3d Cir. 1990) (military

examined impact of change).

                                   *      *       *

      Unable to satisfy either component of Boyle’s first condition, the defense

collapses. See Gray, 125 F.3d at 1377–78; Dugas, 2016 WL 3965953, *4; see also

Snell, 107 F.3d at 748; D.F. v. Sikorsky, 2017 WL 4922814, *20–21 (S.D. Cal.

2017); Ferguson, 2005 WL 8160215, *3; Carson v. Heli-Tech, 2003 WL 22469919,

*6 (M.D. Fla. 2003).

      B.     The CAEv2 did not conform to any purported specifications.

      Boyle’s    second    condition   requires       the   product   to   conform   to

government-approved specifications. Nonconformance means a “deviation from the

required military specifications.” Gray, 125 F.3d at 1378. Because the military did

not approve precise specifications, Defendants necessarily fail this condition. See

Griffin v. JTSI, 654 F. Supp. 2d 1122, 1136 n.29 (D. Haw. 2008). In fact, it is

“impossible” to analyze this condition without contractual design specifications.

Martinez, 2015 WL 11109381, *21.

      Assuming Ohlin’s requests and the MPID constitute precise specifications,

which they definitely do not, Defendants fare no better. In Gray, the Eleventh Circuit

alternatively analyzed whether an aircraft’s servo conformed to the “basic design”


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requirement of a servo “without a hazardous lag.” 125 F.3d at 1378. It concluded the

servo did not meet that “narrative description” because “it suffered from a hazardous

lag.” Id. at 1378–79. So too here. The CAEv2 does not conform to the

             due to the defects in question. PX37(3M_MDL000000055 ¶ 2.1.1);

PX9(Ohlin-130:6-23).



                                               PX24(Berger-109:10-13).

      The CAEv2 also violated the MPID’s                                         that

ensure                          . PX37(3M_MDL000000055–56); PX15(Myers-

542:6-25).

      

          PX25(Kieper-512:5–531:23),
                            , PX15(Myers-550:12–565:20). See Gray,
          125 F.3d at 1378 (“shutoff valve in the servo operated at a
          higher-than-specified pressure”).

      
                                                       PX26(Berger-318:13–
          320:11).

      
                                              PX25(Kieper-162:17–163:3,
          351:14–354:1); PX59(3M_MDL000332847); PX15(Myers-331:2–
          332:24). The government sued Defendants for violating this very
          requirement. PX60(Hamer-166:4–167:17); Ferguson, 2005 WL
          8160215, *4–5; Shurr, 70 F. Supp. 2d at 920–25 (nonconformance
          with testing requirements).



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      

           PX61(Moses-262:2–268:11); PX35(Santoro-304:2–306:22).

           PX35(Santoro-311:9–314:14); PX26(Berger-290:3-6).

Accordingly, Plaintiffs are entitled to summary judgment even if these requirements

constitute precise specifications. See, e.g., Gray, 125 F.3d at 1378–79.

      C.     Defendants withheld their internal knowledge of the CAEv2’s
             defects, dangers, and potential consequences from the military.

      Boyle’s third condition requires a contractor to show that “it warned the

government of all the dangers known to it, but not to the government.” Gray,

125 F.3d at 1379. The contractor must fully disclose not only the defect but also any

resulting “problems” and “possible serious consequences.” Harduvel, 878 F.2d at

1322. Where the contractor conceals such internal knowledge, the defense fails. See

Boyle, 487 U.S. at 512 (contractors cannot “withhold[] knowledge of risks”).

      Harduvel illustrates this rigorous requirement. There, the plaintiff sued the

manufacturer of an F-16, alleging that its electrical system caused wire chafing,

which in turn caused the aircraft to lose power and crash. 878 F.2d at 1313–14.

Boyle’s third condition was met because the Air Force knew about the defect as well

as “the chafing problem” and “the possible serious consequences of [it].” Id. at 1322.

The contractor produced “uncontested evidence that its engineers withheld no

information on chafing,” and it was undisputed the Air Force knew the F-16’s

“chafing could lead to electrical shorting.” Id. at 1321–22. Given the Air Force’s

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equal knowledge of the defect (electrical system), its dangers (chafing), and its

potential serious consequences (power loss), Boyle’s third condition was met. Id.

      Other courts likewise hold that Boyle’s third condition is not met when the

contractor fails to disclose internal information regarding the dangers and

consequences of the defect. E.g., Carley v. Wheeled Coach, 991 F.2d 1117, 1127

(3d Cir. 1993) (reversing summary judgment because government did not know “as

much as” contractor); Gadsden v. United States, 111 F. Supp. 3d 1218, 1231

(N.D. Ala. 2015).

      Consider Jowers. Though the government had “state-of-the-art knowledge”

of welding fume hazards based on several “large-scale studies,” the contractors

could not show “they shared any of their internal information regarding” those

hazards. Jowers v. Lincoln Elec., 617 F.3d 346, 354 (5th Cir. 2010). This internal

information “demonstrated a deeper knowledge of potential harms” than the

government had from its own testing, which was fatal to the defense. Id. at 354–55.

      Just like in Jowers, Defendants cannot show the military knew about the

dangers and consequences of the CAEv2’s defects, as revealed in their internal

documents. The record is bereft of evidence that the military knew the CAEv2’s

short stem prevented deep insertion and that such fitting problems could cause

inadequate protection. There is also not a scintilla of evidence the military knew the




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positioning of the CAEv2’s opposing flanges caused imperceptible loosening that

could result in inadequate protection.

             1.    Defendants cannot show they shared the Flange Report or Test
                   213015 with the military.
      It is undisputed that Defendants hid two of their most incriminating

documents from the military: Test 213015 and the Flange Report. Not even

Defendants’ Military Sales Managers laid eyes on those reports until this litigation.

PX18(McNamara-376:2-18); PX62(Gavin-92:14-18). Given the asymmetry of

knowledge

                         PX45(Murphy-192:18–193:5). Numerous sales executives

conceded they “                                                                    .”

PX61(Moses-250:19–251:22); PX18(McNamara-92:8-19).

      Indeed, no one disseminated Test 213015 “outside the walls of Aearo and

3M.” PX15(Myers-302:5-24); PX27(30(b)(6)-352:15-25). The record shows

Defendants instead concealed this information. When applying for the MPID, Myers

told the military that NRR testing on the closed end had been “                    ”

                  . PX15(Myers-490:3–493:23). Had he disclosed Test 213015, the

military never would have purchased the CAEv2. PX42(3M_TOUHY00002040);

PX26(Berger-559:5-25);     PX34(Warren-213:12–214:17); PX45(Murphy-167:9–

168:5). Not to mention, disclosing Test 213015 would have unveiled Defendants’

sham testing methods. Defendants therefore buried it. PX15(Myers-623:10-16).


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      Defendants also cannot show they disclosed the Flange Report.

PX27(30(b)(6)-286:5–287:9). The record is crystal clear they did not. According to

3M’s Laboratory Manager,                                                           .

PX60(Hamer-62:1–68:20);      PX51(30(b)(6)-243:16–244:23).      Myers,    however,

testified that

        . PX15(Myers-286:18–289:24, 293:24–297:22, 367:11-25). So too with

Berger. PX26(Berger-206:7-13) (“

       .”). In the end, not one employee “

                                                                   .” PX10(Myers-

897:6–898:25); PX60(Hamer-330:23–331:3); PX34(Warren-220:3-8).

      Lacking any proof of disclosure, Defendants might argue Berger orally

transmitted the Flange Report to Ohlin. He did not. Berger has no “

                                                            ” when talking to Ohlin.

PX27(30(b)(6)-372:11–373:10). Not even his




PX58(3M_MDL000696204); PX15(Myers-722:1–723:22); PX55(Berger-152:2–

155:9); PX18(McNamara-382:7–396:9). Stuck with these undisputed facts, Berger

conceded he could not recall one conversation informing “

                                                    ,” PX55(Berger-151:8-21), or



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that the CAEv2 “                                   ,” PX27(30(b)(6)-295:14-25).

And even if it were true that Berger told



        . PX26(Berger-82:9-22).



                                                   PX63(3M_MDL000023464).



                                                      PX18(McNamara-435:24–

437:3). Neither one, however, reflects military knowledge of the CAEv2’s defects

and dangers. PX51(30(b)(6)-251:24–252:23, 405:8–406:11); PX26(Berger-218:4-

15, 220:10-18, 545:8-22).

                   ,   PX34(Warren-230:19–234:11);    PX23(Babeu-94:8–101:9);

PX64(3M_MDL000345123_30–31, A-9),

                         , PX18(McNamara-399:7-23); PX23(Babeu-49:8-12).

      Worse,



                                              .   PX27(30(b)(6)-373:12–374:6);

PX18(McNamara-436:15–440:15). In fact,



    . PX26(Berger-205:1-9, 212:2–213:9); PX15(Myers-745:15–748:13); see



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Schwindt v. Cessna, 1988 WL 148433, *4 (S.D. Ga. 1988) (denying defendant

summary judgment because it did not correct military’s limited knowledge of

potential remedy).

      Accordingly, Defendants cannot show the military knew




          . PX35(Santoro-306:1-22); PX15(Myers-685:4–686:4); PX60(Hamer-

76:20–77:6, 310:11–311:8); PX18(McNamara-404:2–405:18). Compare Gray,

125 F.3d at 1379 (defense not met because instructions did not reveal “how critical

the positioning of the control stick” was to avoid danger or that it “had to be” in a

certain position to function safely) (emphasis added), with Harduvel, 878 F.2d at

1321–22 (defense met because technical orders warned that failure to inspect could

cause problems and government had full knowledge).

             2.      Ohlin’s testimony, the Army’s Law Enforcement Report, and
                     Touhy discovery each prove Defendants withheld information.

      While this evidentiary chasm itself entitles Plaintiffs to summary judgment,

additional evidence proves Defendants cannot satisfy Boyle’s third condition.

      Ohlin previously testified about

                                                                                    .

PX9(Ohlin-80:21–81:5). Ohlin also testified he knew



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                                    PX9(Ohlin-191:18–192:23) (emphasis added).

Ohlin was therefore

                                             Id.

      The government’s criminal investigation in the qui tam case ends the inquiry.

There, the government alleged Defendants “knowingly sold the CAEv2 to the United

States military without first disclosing the design defect, flawed testing, and

inaccurate NRR.” United States v. 3M, No. 3:16-cv-01533-MBS, Dkt. 23-1 (D.S.C.

2018). The Army Criminal Investigation Command conducted an intensive, two-

year investigation and published a Final Law Enforcement Report concluding



                                                                 PX40(CID0002);

PX15(Myers-753:1–754:5). To this day, Defendants’ Master Answer in this MDL

does not deny the military lacked such information. Dkt. 959 ¶ 174.

      Finally, like Defendants’ employees, none of the Touhy witnesses have

identified “any communication of [the Flange Report’s] findings to the Army.”

PX43(Merkley-331:21–332:16).



PX43(Merkley-327:8–329:1, 349:4–350:4); PX23(Babeu-171:18–175:14, 389:20–

391:18); PX44(Coleman-202:15–203:12).



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             3.     Defendants engaged in the very conduct that Boyle forbids.

      In the final analysis, Defendants’ conduct runs headlong into Boyle’s third

condition. 487 U.S. at 512–13 (“The third condition is necessary because, in its

absence, . . . manufacturer[s] [would] withhold knowledge of risks, since conveying

that knowledge might disrupt the contract but withholding it would produce no

liability.”). Defendants had countless opportunities to disclose the Flange Report and

Test 213015 to the military, but they never did because the CAEv2 “                  ”

and    “                        .”   PX19(30(b)(6)-319:4–321:10,        383:2–384:3);

PX65(Cimino-76:4–77:12).

      Driven by profits instead of safety,

             . PX25(Kieper-482:5–500:23). Days before the MPID,



            . PX26(Berger-641:16–642:25); PX15(Myers-500:1–501:1, 623:10-25).



                   . PX66(3M_MDL000531885_5); PX15(Myers-783:16–786:21).

      Undeterred, Defendants kept that internal information, Test 213015, and the

Flange Report a secret until they no longer could; that is, until they were required by

law to disclose it in litigation. Only after the cat was out of the bag did they

                           . PX15(Myers-352:16–353:16). Indeed,




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                                                                                    .

PX38(3M_MDL000332111); PX31(Hamer-149:18–157:8, 165:20–166:1, 175:16–

176:7). Yet even then, Defendants did not own up to the military. PX15(Myers-

362:15–363:21); PX43(Merkley-387:6-11).

        Unfortunately, Defendants remain undeterred. When asked whether it is

“

                  ,” one executive still said, “     .” PX67(Salon-51:16–54:10).

Defendants’     Military   Sales   Manager   doubled-down     on   that   statement,

PX18(McNamara-167:1–170:14), and brazenly testified that



                                               PX18(McNamara-153:16–156:22).

                                   *     *     *

        In sum, Plaintiffs are entitled to summary judgment because Defendants

cannot carry their burden on either defect under Boyle’s third condition. It is

undisputed that Defendants concealed Test 213015. It is undisputed that Defendants

withheld the Flange Report. And it is undisputed that Defendants never told the

military that

                                       , both of which result in poor protection.




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       Because the military was not aware of Defendants’ “deeper knowledge” of

the dangers and consequences of the CAEv2’s defects, Defendants cannot satisfy

Boyle’s third condition. See, e.g., Jowers, 617 F.3d at 354–55.

V.     The Defense Does Not Preempt Plaintiffs’ Failure-to-Warn Claims
       Because Defendants Cannot Show a Procurement Contract Prohibited a
       Warning.

       As with design-defect claims, displacement of warning claims requires sharp

conflict between state-law duties and the duties imposed by a federal procurement

contract. In re Joint, 897 F.2d 626, 629–31 (2d Cir. 1990). Put simply, “conflict there

must be.” Boyle, 487 U.S. at 507. The defense therefore preempts failure-to-warn

claims only where, unlike here, a federal contract prohibited the contractor from

warning. E.g., Hawaii, 960 F.2d at 812.

       Dorse set that rule in stone. Instead of applying Boyle’s “three-part test,” the

Eleventh Circuit concluded that Boyle’s two threshold requirements governed

warning claims. 898 F.2d at 1489. It found the “significant conflict” requirement

lacking because the contractor’s state-law duty to warn was “not precisely contrary

to the duty imposed by the government contract.” Id. at 1489. Notably, the Navy

“specifications [did] not contain any prohibition against health warnings.” Id. For

that reason alone, the Eleventh Circuit affirmed the grant of summary judgment to

plaintiff. Id. at 1490.




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        District courts in this Circuit are “bound by the Dorse case” and must “abide

by every contour of that opinion.” Killam v. Air & Liquid, 2016 WL 7438434, *5

(M.D. Fla. 2016). Contractors therefore generally “challenge [failure-to-warn

claims] on the merits.” Strickland, 911 F. Supp. at 1468 & n.4. When they do assert

the defense, they rarely—if ever—succeed. See, e.g., Glassco v. Miller, 966 F.2d

641, 644 (11th Cir. 1992) (reversing summary judgment because it was “inconsistent

with Dorse”). Indeed, Dorse’s strict prohibition test typically requires summary

judgment for plaintiffs. E.g., Dugas, 2016 WL 3965953, *5 (granting plaintiff

summary judgment because “warnings were not outright prohibited by the Navy”).

        Dorse dooms the defense here. In that case, Navy specifications were silent

as to “any prohibition against health warnings.” 898 F.2d at 1489. In this case,

“                                  ” whatsoever. PX53(3M_MDL000527305). This

does not merely “suggest[] that no conflict exists,” Dorse, 898 F.2d at 1489,

                               , PX61(Moses-181:18–183:2).

        Defendants concede the military never denied them “the right to give an

instruction or a warning to the military and to the soldiers,” PX51(30(b)(6)-287:3–

288:10), and admit nothing in the MPID “

                   ,” PX51(30(b)(6)-278:10–283:4). 898 F.2d at 1489–90 & n.2.

Defendants have also not produced any other contract where the military

“                                                .” PX51(30(b)(6)-283:23–284:13).



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What’s more, the sole contract Defendants invoke

                    . PX37(3M_MDL0000000056); PX43(Merkley-308:6–309:7).

Dorse thus applies here, a fortiori. PX51(30(b)(6)-277:1–278:9).

      Defendants also never warned “                                                ”

                            , even though the military had no power to prohibit them

from warning commercial users. PX45(Murphy-192:18–193:5). To be sure, then,

Defendants’ failure to warn was of their own making, not the military’s.

PX61(Moses-268:12-24); see Gray, 125 F.3d at 1377 (“[T]he military contractor

defense is available only when the defendant [shows] ‘the government made me do

it.’”). The defense does not therefore preempt Plaintiffs’ failure-to-warn claims. See

Graves v. 3M, 2020 WL 1333135, *5–6 (D. Minn. 2020) (defense was not colorable

because “3M has not demonstrated that the government had any control over the

[CAEv2’s] instructions or warnings”).

                                  CONCLUSION

      For the foregoing reasons, Plaintiffs respectfully request that the Court grant

their motion for summary judgment on the government contractor defense.




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DATED: April 1, 2020

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                    CERTIFICATE OF COMPLIANCE
                  WITH LOCAL RULES 7.1(F) AND 56.1(E)

      I hereby certify that this motion complies with the word limit of Local Rule

56.1(E) and contains 8,000 words.

                                     s/ Bryan F. Aylstock




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                         CERTIFICATE OF SERVICE

      I hereby certify that on April 1, 2020, I caused a copy of the foregoing to be

filed through the Court’s CM/ECF system, which will serve all counsel of record.

                                      s/ Bryan F. Aylstock




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